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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN MACKEY                                  :
                                             :
    v.                                       :       CIVIL ACTION NO. 23-519
                                             :
CHIPOTLE MEXICAN GRILL                       :
OF COLORADO, LLC                             :

                                            ORDER

    This 16th day of October, 2024, it is hereby ORDERED as follows:

    1) Defendant’s motions to preclude Plaintiff’s life care planner and economist, ECF 19

          and 28, are DENIED, as Defendant has had sufficient time within which to prepare

          for their testimony, and preclusion is a drastic remedy that should be employed only

          in exceptional circumstances.

    2) Defendant’s motion to preclude Plaintiff from introducing a video of a wheelchair

          transfer, ECF 27, is deferred, pending the evidence at trial. Counsel shall submit a

          copy of the video in a playable format for the Court’s review.

    3) Defendant’s motion to preclude evidence of the subsequent replacement of the

          railing, ECF 25, is GRANTED. The record is clear that an enclosure was part of

          Chipotle’s design of the premises before this incident, and that replacement of the

          railing was contemplated before this incident, with the result that there is no

          relationship between Plaintiff’s fall and the later repair. Plaintiff is not, however,

          precluded from arguing that it was unnecessary to rope-off the opening pending

          replacement of the rail.

    4) Plaintiff’s motion to preclude reference to Dr. Cooper’s need to care for his ailing

          wife, ECF 22, is GRANTED in part. Dr. Cooper may not make any reference to his
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   wife or her condition, but may state that he left clinical practice “because of family

   responsibilities.”

5) Plaintiff’s motions to preclude witnesses or documents not produced in discovery,

   ECF 23 and 24, are DENIED without prejudice to resubmission at trial.

6) Plaintiff’s motion to preclude reference to alcohol use is GRANTED in part for the

   reasons set forth in the accompanying memorandum. Defendant may not argue that

   any of Plaintiff’s falls were the result of intoxication, but may introduce evidence of

   Plaintiff’s history of alcohol use as probative of life expectancy.




                                              _/s/ Gerald Austin McHugh__________
                                               United States District Judge
